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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 13-10029-CR-Martinez/Garber

 UNITED STATES OF AMERICA,

 v.

 JOSE VALDES DIAZ,
       Defendant.
 ____________________________/

                               REPORT AND RECOMMENDATION

        THIS CAUSE is before the Court by Order of Reference from United States District Judge Jose

 M. Martinez for a Report and Recommendation “as to the appropriateness of Defense Counsel’s CJA

 Voucher.”

                          FACTUAL BACKGROUND AND DISCUSSION

        The defendant Diaz was indicted on April 24, 2013, and was charged in Count 1 with conspiring

 to encourage and induce aliens to enter the United States. He was also charged in Counts 62-82 with

 encouraging and inducing aliens to enter the United States, and in Counts 83-103 with alien smuggling

 for private financial gain. [DE 3].

        Attorney Humberto R. Dominguez was appointed on October 18, 2013 to represent the defendant

 Diaz, such appointment made pursuant to the Criminal Justice Act, and he participated in the case from

 the date of his appointment until July 18, 2014. Following a trial of six days, the defendant was

 convicted in Counts 1, 62 through 84, and 86 to 102. He was sentenced on July 18, 2014 to a total term

 of sixty months imprisonment. [DE 413]. Mr. Dominguez now seeks attorney’s fees, cost, and expenses

 to which he is entitled for his service in this cause. [DE 70].
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        The Court has carefully reviewed and considered Mr. Dominguez’s submission. It is clear that

 this cause is considered “extended” because of the substantial amount of discovery, time required in its

 examination, and consultations with the defendant and family members and experts, as compared to the

 average case. 18 U.S.C. §3006A(d)(3). The Court also finds that the case is complex because of the

 numerous defendants and the substantial number of counts, especially those charging the defendant Diaz.

 The case required each defense attorney to become familiar with all of the activity of all defendants

 leading up to the Indictment, which required a substantial expenditure of time. The fact that the case

 was tried in Key West required defense counsel to expend time and incur costs and expenses in travel

 on two occasions, as well as appearances in Fort Lauderdale.

        In the face of compelling evidence as to his guilt, the defendant maintained his claim of

 innocence. Despite efforts of Mr. Dominguez to obtain a plea agreement, the defendant rejected such

 idea and exercised his right to a trial. Mr. Dominguez spent an enormous amount of time in preparation

 for the trial, as is evidenced by the entries contained in his application for fees and costs.

        Mr. Dominguez handled this case in a very professional and competent manner and expended

 a significant amount of time in its preparation. However, in its examination of time expended on certain

 items, the Court finds what it feels are excessive entries. For example, Mr. Dominguez’s application

 reflects a claim that a total of 110.4 hours were spent in “Obtaining and reviewing records.” Based on

 an eight- hour day, these hours are the equivalent of approximately fourteen full days. This time, in the

 Court’s judgment, is excessive and the obtaining and reviewing of records could have and should have

 been accomplished in far less time.

        Mr. Dominguez seeks payment for his services regarding “potential issues for Rule 33 Motion.”

 His claim for a total of 15.3 hours is excessive and should have been accomplished in less than 5 hours.



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 The Court also notes that Mr. Dominguez conferred with the defendant’s wife on fourteen different

 occasions, which appears to be excessive.

        In considering the application now before the Court, the documentation supporting the

 application “is voluminous and the Court shall rely upon the ruling in Loranger v. Stierheim, 10 F.3d

 776 (11th Cir. 1994), which states inter alia that “where a fee documentation is voluminous, such as in

 the instant case, an hour-by-hour review is simply impractical and a waste of judicial resources.” Other

 circuits have almost uniformly held that where a fee application is voluminous, an hour-by-hour analysis

 of a fee request is not required. Jacobs v. Mancuso, 825 F.2d. 559 (1st Cir.1987); Mares v. Credit

 Bureau of Raton, 801 F.2d. 1197, 1202-03 (10th Cir. 1986); Copeland v. Marshall, 641 F.2d 880, 903

 (D.C.Cir. 1980).

        “In fact, given a voluminous application, most circuits recognize the utility of across the board

 percentage cuts either in the number of hours claimed or in the final lodestar figure.” Loranger, supra.

 The Eleventh Circuit, in Bivins v. Wrap It Up, Inc., 380 Fed.Appx. 888 (2010), holds that “if the district

 court finds that the number of hours claimed is unreasonably high, the court may either conduct an hour-

 by-hour analysis or it may reduce the hours using an across the board cut.” The above examples are a

 small portion of the time entries in the application, which is quite voluminous. The Court finds that the

 number of hours claimed is unreasonably high and finds an across the board percentage cut to be

 appropriate and shall recommend a percentage cut.

                            CONCLUSION AND RECOMMENDATION

        The Application for Fees and Costs must be modified to reflect an accurate portrayal of the

 reasonable and necessary time expended on tasks referenced therein. However, the costs and expenses

 sought are reasonable and necessary.



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        The Court, because of the voluminous nature of the entries in the Application, will rely upon the

 pronouncements in Loranger v. Stierheim, 10 F3d. 776 (11th Cir.1994) and other cases cited above, to

 utilize across the board percentage cuts rather than an hour-by-hour analysis. Accordingly, and upon due

 deliberation, the undersigned hereby finds that due to the fact that this cause is complex and extended,

 the statutory cap of $9,800.00 may be exceeded. Accordingly, the undersigned

        RECOMMENDS that counsel’s request for fees in the amount of $23,867.20 be reduced by 15%

 to the sum of $20,287.12. In addition thereto, the undersigned recommends that an additional $839.60,

 as claimed by Mr. Dominguez, be awarded for reasonable and necessary costs, for a total award of

 $21,126.72.

        The parties have fourteen (14) days from the date of this Report and Recommendation within

 which to file written objections, if any, with United States District Judge Jose M. Martinez. See 28

 U.S.C. §636 (1991). Failure to file timely objections may bar the parties from attacking on appeal the

 factual findings contained herein. LoConte v. Dugger, 847 F.2d 745, 750 (11th Cir. 1988), cert. denied,

 488 U.S. 958 (1988).

        RESPECTFULLY SUBMITTED at the United States Courthouse, Miami, Florida this 3rd day

 of September 2014.


                                                       _________________________________
                                                       BARRY L. GARBER
                                                       UNITED STATES MAGISTRATE JUDGE




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